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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff,                    )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
MANAGEMENT, LLC,                      )                     Civil Action No. 1:18-cv-11926-PBS
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

AFFIDAVIT OF DOUGLAS S. BROOKS IN SUPPORT OF DEFENDANTS’ RESPONSE
TO THE SECURITIES AND EXCHANGE COMMISSION’S MOTION FOR ORDER TO
        SHOW CAUSE WHY DEFENDANTS SHOULD NOT BE HELD IN
           CONTEMPT FOR VIOLATING PROTECTIVE ORDERS

       I, Douglas S. Brooks, hereby swear and declare as follows:

       1.       I am a member in good standing of the Bar of the Commonwealth of

Massachusetts and am counsel to Defendants Rev. Fr. Emmanuel Lemelson (identified in the

Complaint as “Gregory Lemelson”) and Lemelson Capital Management, LLC, and Relief

Defendant The Amvona Fund, LP.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ:LGND) – Severe competitive threat to key royalty program and

‘going concern’ risk drive 100 percent downside,” published June 16, 2014.

       3.       Attached hereto as Exhibit 2 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ: LGND): Appendix,” published July 3, 2014.
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       4.       Attached hereto as Exhibit 3 is a true and correct copy of “Update: Lemelson

Capital Further Increases Short Stake in Ligand Pharmaceuticals (NASDAQ: LGND) as LGND

EPS Plunges 76 percent in Q2 2014,” published August 4, 2014.

       5.       Attached hereto as Exhibit 4 is a true and correct copy of “Lemelson Capital Says

Ligand Pharmaceuticals’ (NASDAQ: LGND) $225M Debt Issuance Solidifies Company’s

Insolvency, Substantially Raises Specter of Bankruptcy,” published August 14, 2014.

       6.       Attached hereto as Exhibit 5 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ: LGND): Institutional holders wasting no time dumping stock in

response to mounting insolvency and bankruptcy risks,” published August 22, 2014.

       7.       Attached hereto as Exhibit 6 is a true and correct copy of a PowerPoint

presentation titled “Ligand Presentation to the SEC,” dated September 25, 2014, produced by

non-party Ligand Pharmaceuticals at LGND_0080678 - LGND_0080737.

       8.       Attached hereto as Exhibit 7 is a true and correct copy of an email exchange

between Bradley Bondi and Scott Friestad of the Securities and Exchange Commission between

May 18, 2015 and May 21, 2015, produced by the Securities and Exchange Commission at

EPROD-SEC-LIT-E-001189144-EPROD-SEC-LIT-E-001189147.

       9.       Attached hereto as Exhibit 8 is a true and correct copy of a PowerPoint

presentation titled “Ligand Presentation to the SEC,” dated June 8, 2015, produced by non-party

Ligand Pharmaceuticals at LGND_0080738 - LGND_0080799.

       10.      Attached hereto as Exhibit 9 is a true and accurate printout of the historical stock

prices of Ligand Pharmaceuticals, Inc. (LGND) for March 1, 2010 through February 27, 2020.

This data was taken from the NASDAQ historical data available at

https://www.nasdaq.com/market-activity/stocks/lgnd/historical.



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        11.      Attached hereto as Exhibit 10 is a true and accurate printout of the Bloomberg

Article titled “Hedge Fund Priest’s Trades Probed by Wall Street Cop.,” published on March 18,

2016.

        12.      Father Emmanuel’s June 19, 2014 pre-market interview with Benzinga is

available at https://www.youtube.com/watch?v=P6ucSfDnO24. The entire length of the

interview is 21 minutes, 40 seconds. The interview first mentions Father Emmanuel’s short

position in Ligand at the 14 minute, 40 second mark in the interview. At the 16-minute mark in

the interview, Father Emmanuel stated that he spoke with Ligand’s IR firm the day before the

interview and they “basically agreed” that they understood Promacta was going away. The

discussion regarding Ligand ended at approximately the 19 minute, 30 second mark in the

interview.

        13.      Attached hereto as Exhibit 11 is a true and accurate copy of Fr. Emmanuel’s notes

of his conversation with Ligand’s IR firm representative, Bruce Voss, which were produced at

EPROD-SEC-LIT-E-00589566- EPROD-SEC-LIT-E-00589567, as well as a printout of the

associated metadata with the document. The metadata reflects that the document was created on

June 18, 2014.

        14.      Attached hereto as Exhibit 12 is a true and correct copy of a report titled “Ligand

Pharmaceuticals Incorporated (LGND) ‘If something cannot go on forever, it will stop.’

Initiating Coverage With a Sell, $16.00 Price Target,” dated July 22, 2014, produced by non-

party Empire Asset Management Company.

        15.      Attached hereto as Exhibit 13 is a true and correct copy of a report titled “Ligand

Therapeutics, Inc (LGND) 2Q2014 Results: Maintain our $16.00 Price Target,” dated August 5,

2014, produced by non-party Empire Asset Management Company.



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       16.     Attached hereto as Exhibit 14 is a true and correct copy of an email exchange

between Todd Pettingill of Ligand, Glenn Dourado, and Eric Vajda, dated August 22, 2014,

produced by non-party Ligand Pharmaceuticals at LGND_0041211 - LGND_0041213.

       17.     Bradley J. Bondi’s Wikipedia page is available at

https://en.wikipedia.org/wiki/Bradley_J._Bondi. Under the section titled “Government Service”

it states that Mr. Bondi “served three years on the executive staff of the Securities and Exchange

Commission, working as counsel for enforcement actions and regulatory rule-making to

Commissioners Paul S. Atkins and Troy Paredes, the former of whom Bondi has co-authored op-

eds and journal articles on regulatory policy and securities law.” His Wikipedia page also states

that Mr. Bondi “appears regularly as a legal analyst and commentator on television, including

CNBC and Bloomberg Television, and is often quoted in the Wall Street Journal, the New York

Times, the Washington Post, Forbes and others.”

       18.     When viewing the information about the user that created the Wikipedia page for

Mr. Bondi, the user who created this page had never created a Wikipedia page before September

2017. Between September 16-18, 2017, this Wikipedia user created three pages: one for Mr.

Bondi and two for the Co-Heads of Enforcement for the Securities and Exchange Commission.

Since September 2017, this Wikipedia user has created only one additional page for a former

U.S. naval officer. Since September 2017, this Wikipedia user has made multiple edits and

additions to the Wikipedia page for Mr. Bondi.

       19.     Attached hereto as Exhibit 15 is a true and correct copy of the June 8, 2015 letter

from Member of Congress, Duncan Hunter to the Securities and Exchange Commission

produced by non-party Ligand Pharmaceuticals at LGND_0080800 - LGND_0080801.




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        20.    Attached hereto as Exhibit 16 is a true and accurate printout of the December 3,

2019 article published by the New York Times, titled “Duncan Hunter’s Guilty Plea: Answers to

5 Crucial Questions.” This article is available at

https://www.nytimes.com/2019/12/03/us/duncan-hunter-guilty-plea.html?auth=link-dismiss-

google1tap.

        21.    Attached hereto as Exhibit 17 is a true and accurate printout of the Securities and

Exchange Commission’s Investor Bulletin, published on October 22, 2014, which states that

“Because SEC investigations are generally nonpublic, Enforcement will not confirm or deny the

existence of an investigation unless the SEC brings charges against a person or entity involved.

Enforcement also will not provide updates on the status of any pending SEC investigation.” This

Bulletin is available at https://www.sec.gov/oiea/investor-alerts-bulletins/ib_investigations.html.

        22.    Attached hereto as Exhibit 18 is a true and accurate copy of an email exchange

between Bradley Bondi, Sean Tonolli, and Michael Wheatley (counsel for Ligand) and Scott

Friestad, Virginia Rosado-Desilets, and Sonia Torrico of the Securities and Exchange

Commission between September 15, 2017 and September 18, 2017, produced by the Securities

and Exchange Commission at EPROD-SEC-LIT-E-001189502-EPROD-SEC-LIT-E-001189505.

        23.    Attached hereto as Exhibit 19 is a true and accurate copy of Ligand’s 10Q Filing

with the Securities and Exchange Commission on May 7, 2014.

        24.    Attached hereto as Exhibit 20 is a true and accurate copy of an email exchange

between counsel for Ligand, Bradley Bondi, Sean Tonolli, and William McCaughey; counsel for

the Securities and Exchange Commission, Marc Jones and Alfred Day; and counsel for

Defendants, Douglas Brooks and Brian Sullivan between February 12, 2020 and February 19,

2020.



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       25.     After being retained as counsel for Defendants in this matter, counsel for the

Securities and Exchange Commission informed me that they intended to bring an enforcement

action. I requested a meeting with the Head of Enforcement for the Securities and Exchange

Commission to discuss the claims. The Securities and Exchange Commission denied my request

for a meeting, telling me that because Defendants’ predecessor-counsel had met with the Head of

Enforcement a year earlier, I would not be given a meeting.

       26.     Shortly after Fr. Emmanuel’s November 12, 2019 deposition in this matter,

counsel for the Securities and Exchange Commission told me that they planned to send a

subpoena to the Greek Orthodox Metropolis of Boston after being informed by that Fr.

Emmanuel was not a Greek Orthodox Priest and that he had unsuccessfully applied to be

ordained as a priest through the Greek Orthodox Metropolis of Boston. Counsel for the

Securities and Exchange Commission stated that this information was relevant because it could

be used to undermine Fr. Emmanuel’s credibility. Counsel for the Commission asked if

Defendants would object based on an assertion of privilege to the Commission issuing a

subpoena seeking that information. Following this conversation, on December 4, 2019, in order

to be certain that any subpoena to the Greek Orthodox Metropolis of Boston would seek the

relevant documents, counsel for Defendants preempted the Commission by serving their own

subpoena on the Greek Orthodox Metropolis of Boston. A true and accurate copy of the

Subpoena with the return of service is attached hereto as Exhibit 21.

       27.     At the December 5, 2019 Deposition of Matthew Foehr, Defendants entered the

document containing Bates-pages LGND_0056270-LGND_0056275 as an exhibit. Ligand’s

counsel stated that those pages contained unredacted information “that reflects attorney-client




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privilege,” and objected to the use of those pages of the document at the deposition. Ligand’s

counsel later produced a redacted version of this document.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United State of America that the foregoing is true and correct.



Executed: February 28, 2020                                   /s/ Douglas S. Brooks
                                                              Douglas S. Brooks


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on February 28, 2020.

                                                              /s/ Douglas S. Brooks
                                                              Douglas S. Brooks




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